                   Case
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Southern District
                                                  __________ Districtofof
                                                                        New  York
                                                                          __________

                  MATTHEW L. FERBER,                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:25-cv-5263
                                                                  )
     SUSHI LAB LLC, a New York limited liability                  )
    company, d/b/a SUSHI LAB–ROOF TOP, et al.,                    )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) LOGANS SANCTUARY LLC
                                           C/O ROSENBERG CALICA & BIRNEY
                                           100 GARDEN CITY PLAZA, SUITE 408
                                           GARDEN CITY, NY 11530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       B. BRADLEY WEITZ, ESQ., THE WEITZ LAW FIRM, P.A.
                                       18305 Biscayne Blvd., Suite 214
                                       Aventura, Florida 33160 Tel. - (305) 949-7777 Fax - (305) 704-3877



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:             06/25/2025                                                                   /s/ P. Canales
                                                                                       Signature of Clerk or Deputy Clerk
                     Case
                       Case
                          1:25-cv-05263-GHW
                             1:25-cv-05263 Document
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 Civil Action No. 1:25-cv-5263

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
